._._4 __ _\_,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

o

1
Ca:i;e 2:99-cV-O4612-R-I\/|c.ocument 11 Filed 01/06/00 Pa.l of 15 Pag,ew
l Brent H. Blal<,ely (.Ba.'; No. 157292)
LAW OFFICES OF BRENT H. BLAKELY, INC.
865 Manhattan Beach Blvd. Suite 204
Manhattan Beach, Califomia 90266
3 Telephone (310) 796-5773 Facsimile 310-796-5723
4 Attomeys for Plaintiffs
GEORGE DOWN[NG, PAUL STRAUCH, RICK STEE
5 RiCHARD (BUFFALO) KEAULANA ,
6 BEN AIPA, MIKE DOYLE and JOEY CABELL
7
8 § UNITED STATES DISTRiCT COURT "
5
" 9 §§ 3 CENTRAL DISTRICT 01= CALiFORNIA
Du.
‘l al § 10 035
f =w` § mg
j :?, co 11 §°EE()RGE DOWNING, an individual; PAUL ) CASE NO. Cv99-4612R(Mcx)
m g" l E RAUCH, an individual; RICK STEERE, an )
. u_,_ § 12 wi i idual; RICHARD (BUFFALO) )
l w -> =" AULANA, an individual; BEN AIPA, an )
3 s _ _ . . .
z °" ` 13 § dl‘ridual; MIKE DOYLE, an mdlvidual; and ) AMENDED COMPLAINT FOR
ll d OE!Y CABELL, an individual; ) DAMAGES AND INJUNCTIVE
§ 14 ' ) RELIEF:
' z Plaintiffs, )
l \< ) 1. COMMERCIAL
vS. ) APPROPRIATION OF IDENTITY
16 ) (cal. Civ. Code § 3344)
ABERCROMBIE & FITCH, an Ohio ) 2. INVASION OF PRIVACY
17 corporation; and DOES 1 through 50 inclusive, ) 3. MISAPPROPRIATION OF
) PUBLlClTY
13 Defendants. ) 4. FALSE DESIGNATION OF
) ORIGIN UNDER THE LANHAM
19 ) ACT § 43(3), 15 U.S.C. § 1125(a).
) 5. NEGLIGENCE
20 6. DEFAMATIGN 0F CHARACTER
21
JURY TRIAL DEMANDED
22
23 Plaintiffs George Downing, Paul Strauch, Rick Steere, Richard (Buffalo) Keaulana, Ben
24 Aipa, Mike Doyle, and Joey Cabell (collectively, “Plaintiffs") complain and allege as follows:
25 JURISDICTIONAL ALLEGATiONS "
f 1
26 l. At all relevant times hereto, Plaintiff GEORGEW@%.§\ .
\\
27 “Downing”) is an individual residing in Honolulu, Hawaii. K, \r _ \
c l
23 /// '
l \ ..<?~P`\' ,/ \\
Complaint for Damages and Injunctive Reli;`é_l"/ \\

 

n

Ca:

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

gm _\d'

e 2:99-cv-O4612-R-|\/|c’ocument 11 Filed 01/06/00 Pa.Z of 15 Page |D #:7

1 14\99¢`)30039.€~1§>

2. . At all~relevant times hereto, Plaintiff PAUL STRAUCH (hereinafter “Strauch”) is
an individual residing in lrvine, Califomia.

3. At all relevant times hereto, Plaintiff RICK STEERE (hereinafter “Steere”) is an
individual residing in Honolulu, l-lawaii.

4. At all relevant times hereto, Plaintiff RICHARD (BUFFALO) KEAULANA
(hereinafter “Keaulana”) is an individual residing in Honolulu, Hawaii.

5. At all relevant times hereto, Plaintiff BEN AIPA (hereinafter “Aipa") is an
individual residing in Honolulu, l-lawaii.

6. At all relevant times hereto, Plaintiff MIKE DOYLE (hereinafter “Doyle”) is an
individual residing in Fallbrook, Calit`ornia.

7. At all relevant times hereto, Plaintiff JOEY CABELL (hereinafter “Cabell”) is an
individual residing in Honolulu, Hawaii.

8. Plaintiffs are informed and believe, and thereon allege, that at all relevant times
Defendant Abererombie & Fitch (hereinafter “A&F") was a corporation existing under the
general corporation laws of the State of Ohio, and was authorized to do business, and is currently
doing business, in the state of Califomia.

9. Plaintiffs are unaware of the names and true capacities of Defendants, whether
individual, corporate and/or partnership entities, named herein as DOES 1 through 50, inclusive,
and therefore sues them by their fictitious names. Plaintiffs will seek leave to amend this
complaint when their true names and capacities are ascertained Plaintiffs are informed and
believe, and based thereon allege, that said Defendants and DOES 1 through 50, inclusive, are in
some manner responsible for the wrongs alleged herein, and that at all times referenced each was
the agent and servant of the other Defendants and was acting within the course and scope of said
agency and employment

10. Plaintiffs are informed and believe, and based thereon allege, that at all relevant
times herein, Defendants and DOES 1 through 50, inclusive, knew or reasonably should have
known of the acts and behavior alleged herein and the damages caused thereby, and by their
inaction ratified and encouraged such acts and behavior. Plaintiffs further allege that Defendants

2
Complaint for Damages and Injunetive Relief

 

Car

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

A`
v_l_¢

e 2:99-cv-O4612-R-|\/|,ocument 11 Filed 01/06/00 Pa.S of 15 Page |D #:8

 

 

-- '\_'f

1 14\991')30039.€1141>

and DOES l through 50, inclusive, had a non-delegable duty to prevent or cure such acts and the
behavior described herein, which duty Defendants and DOES 1 through 50, inclusive, failed
and/or refused to perform.

l 1. The jurisdiction of this Court over the subject matter of this action is predicated
on 28 USC § 1332. The amount in controversy exceeds $50,000.00, exclusive of interest and
costs.

VENUE ALLEGATIONS

12. Venue in the Central District of Califomia is proper. The claims arose in this
district, Plaintiff Paul Strauch resides in this district, and Defendant A & F is subject to personal
jurisdiction within this district.

CHARGING ALLEGATIONS

13. Plaintiffs are informed and believe that A&F published, released and distributed a
quarterly catalog for the Spring 1999 season entitled “Spring Fever” (hereinafter the “Spring
1999 Catalog”).

14. Plaintiffs are informed and believe that A&F published the Spring 1999 Catalog
in connection with that Company’s sale of products, merchandise and goods. Specifically, the
Catalog promotes the beach/surfing lifestyle in connection with the sale of A&F ’s apparel for the
Spring/Summer 1999 season.

15. Plaintiffs are informed and believe that on page 67 ofthe Spring 1999 Catalog
begins a section entitled “SurfNekkid” which contains photographs of completely naked
models, primarily male, in various lewd or suggestive poses while surfing at the beach.

16. Plaintit`fs are informed and believe that in the “SurfNekkid” section, on pages 76
and 77, there is a black and white photograph (the “Photograph”) of a group of legendary
competitive surfers, i_dLnMyMn_e, shown on Makaha Beach wearing contest jerseys from a
1960's era Makaha lnternational Surfing Contest. Speciflcally, the Photograph depicts from left
to right: Fred Hemmings, Buffalo Keaulana, Steve Bigler, Dewey Weber, George Downing,
Paul Strauch, Joey Cabell, Rick Steere, Kiki Spangler, Ken Rocky, Ben Aipa, Butch Hemmings,
and Mike Doyle.

3
Complaint for Damages and Injunetive Relief

 

.¢\

Ca`;e 2:99-cv-O4612-R-|\/|<.ocument 11 Filed 01/06/00 PQAf of 15 Page |D #:9
1 14\99b30039.cmr>

n

1 17. _ Adjoined to the Photograph of the aforementioned surfers at the Makaha Beach

2 Surf Toumament, there are two pages, 78 and 79, which depict A&F garments identical to the

3 contest jerseys worn by the Makaha surfers. Specifically, they are blue and white shirts with the
4 A&F logo on the left sleeve identified as “final heat tee’s,” and include sizes and prices_.

5 (Attached hereto and incorporated herein as Exhibit #1 is a true and correct copy of the Spring

6 1999 Catalog, pages 67-79.)

7 18. Defendants, and each of them, have wrongfully utilized Plaintiffs’ names and

8 identities in disregard of and, therefore, damaging their rights of privacy and publicity, their

9 exclusive property rights and their personal rights in and to the use of their names and likeness.
10 19. Plaintiffs are traditional competitive surfers who were unaware that A&F was

11 going to utilize their names and likeness in A&F’s Spring 1999 Catalog. None of the Plaintiffs
12 were contacted nor in any way gave their consent regarding the use of their names and likeness
13 in the Spring 1999 Catalog and none of the Plaintiffs were in any way compensated for the sanie.
14 20. The damage caused by A&F’s unauthorized use of Plaintiffs’ names and likeness
15 in its Spring 1999 Catalog is compounded by the fact that A&F included the Photograph under a
16 heading entitled “SurfNekkid.” This entire section ridicules and contradicts the traditional

17 surting lifestyle which Plaintiffs have spent a lifetime promoting.

 

13 FIRST CAUSE OF ACTION
19 (For Commercial Appropriation in Violation of Calit`ornia Civil Code Section 3344)
20 21. Plaintiffs repeat and reallege each and every allegation in paragraph 1 through 20

21 of this Complaint as set forth above.

22 22. Defendants have knowingly, and without the consent of Plaintiffs, utilized

23 Plaintiffs’ name and the Photograph in products, merchandise, goods and services, including but
24 not limited to, the Spring 1999 Catalog.

25 23. Defendant A&F knowingly, and without the consent ofPlaintiffs, utilized

26 Plaintiffs’ name and the Photograph for purposes of advertising, selling and soliciting purchases
27 of products, merchandise, goods and services.

28 24. Defendants’ conduct is in violation of Califomia Civil Code Section 3344, since

4
Complaint for Damages and Injunetive Relief

 

 

 

Casi<b 2:99-cV-O4612-R-I\/|c.ocument 11 Filed 01/06/00 Pa. of 15 Page |D #:10

10
11
12
13
14
15
16
17
rs
19
20
21
22
23
24
25
26
27

28

 

 

-¢

1 14\991130039.cMP

such acts were without Plaintiffs’ consent. Defendant A&F knowingly appropriated Plaintiffs’
name and the Photograph for the purpose of promoting, marketing, merchandising and
exploiting its Spring 1999 Catalog.

25. Plaintiffs are informed and believe, and based thereon allege, that for each and
every Defendant there was, and is, a direct connection between the use of Plaintiffs’ name and
the Photograph and the commercial purposes associated with the production, sale, distribution
and promotion ofthe Spring 1999 Catalog.

26. As a proximate result of the misappropriation of their name and the Photograph,
Plaintiffs’ reputations have been damaged and will continue to be damaged.

27. As a proximate result of Defendants’ actions, Plaintiffs have suffered actual
damages in an amount to be shown at trial, but not less than five hundred thousand dollars
($500,000.00).

28. Pursuant to California Civil Code Section 3344, Plaintiffs are also entitled to
Defendants’ profits from the Spring 1999 Catalog, resulting from the unauthorized exploitation
of their names and the Photograph1 in an amount to be proven at trial, but in no event less than
five million dollars ($5,000,000.00).

29. The use of Plaintiffs’ names and the Photograph in the section entitled "Surf
Nekkid“ implies that Plaintiffs endorsed the Spring 1999 Catalog and the lewd photographs
contained therein. As a result, the use of Plaintiffs’ names and Photograph in the “Surf Nekkid”
section of the Spring 1999 Catalog has subjected Plaintiffs to contempt, ridicule and obloquy,
and have caused them to be shunned or avoided, has caused them shock, anger, embarrassment,
and has had a tendency to injure many of them in their occupations.

30. Defendants’ acts were willful, malicious and oppressive to the extent that
Defendants acted in conscious disregard of Plaintiffs’ rights thereby subjecting Plaintiffs to cruel
and unjust hardship, both within the industry from which many of them derive their living and in
their personal life. Defendants’ failed to properly obtain approval relative to their use of the
name and the Photograph of Plaintiffs, and continued said despicable conduct pertinent to the
distribution of the Spring 1999 Catalog and the accompanying advertising, selling and soliciting

5
Complaint for Damages and Injunetive Relief

 

Cas§= 2:99-cV-O4612-R-I\/|c .)cument 11 Filed 01/06/00 Pa. of 15 Page |D #:11
1 14\99030039.cur

1 purchases of products, merchandise, goods and services.

2 31. In performing the acts herein alleged, Defendants have caused, and continue to
3 cause, Plaintiffs great and irreparable injury for which there is no adequate remedy at law.

4 Accordingly, Plaintiffs are entitled to injunctive relief.

5 32. Pursuant to Califomia Civil Code Section 3344, Plaintiffs are entitled to recover

6 their attomeys’ fees in pursuing this action.

 

7 sECoNI) CAUSE or ACTIoN
8 (For Invasion of Privacy and Appropriation of Plaintiffs’
9 Name and Likeness Under Common Law)
10 33. Plaintiffs repeat and reallege each and every allegation in paragraphs 1 through 32

1 1 of this Complaint as set forth above.

12 34. Defendants have, in writing, producing, distributing and selling the Spring 1999
13 Catalog, exploited, without Plaintiffs’ consent, Plaintiffs’ names and likeness and invaded their
14 right to privacy. More specifically, Defendant A&F appropriated Plaintiffs’ names and likeness
15 for the purpose of promoting, marketing, merchandising and exploiting their Spring 1999

16 apparel collection

17 35. Defendants’ exploitation of Plaintiffs’ names and likeness in connection with the
13 Spring 1999 Catalog has resulted in their commercial gain at the expense of Plaintiffs’

19 reputations and legal rights through the unauthorized misappropriation of their names and

20 likenesses.

21 36. Plaintiffs have been damaged in that they have suffered a loss of their good names
22 and reputations and their privacy has been invaded

23 37. As a proximate result of Defendants’ actions, Plaintiffs have suffered actual

24 damages in an amount to be shown at trial, but in no event less than five hundred thousand

25 dollat'S ($500,000.00).

26 38. Defendants’ acts were willful, malicious and oppressive to the extent that

27 Defendants acted in conscious disregard of Plaintiffs’ rights thereby subjecting Plaintiffs to cruel
28 and unjust hardship, both within the industry from which many ofthem derive their living and in

6
Complaint for Damages and Injunetive Relief

 

 

 

 

Case

10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27

28

2:99-cv-o4612-R-1\/1c .>cument 11 Filed 01/06/00 Pa;, of 15 Page lo #:12

l 14\99030039.CMP

their personal life. Defendants’ failed to properly obtain approval relative to their use of the
name and likeness of Plaintiffs, and continued said despicable conduct pertinent to the
distribution of the Spring 1999 Catalog and the accompanying advertising, selling and soliciting
purchases of products, merchandise, goods and services. Accordingly, Plaintiffs will seek an
award of punitive damages against Defendants, and each of them, for their wrongdoing,;nd to
deter them from similar wrongdoing in the future.

39. In performing the acts herein alleged, Defendants have caused, and continue to
cause, Plaintiffs great and irreparable injury for which there is no adequate remedy at law.
Accordingly, Plaintiffs are entitled to injunctive relief.

THIRD CAUSE OF ACTION

(For Misappropriation of Plaintiffs’ Right to Publicity Under Common Law)

40. Plaintiffs repeat and reallege each and every allegation in paragraphs l through 39
of this Complaint as set forth above.

41. Defendants have, in writing, producing, distributing and selling the Spring 1999
Catalog, exploited, without Plaintiffs’ consent, Plaintiffs’ right to publicity. More specifically,
Defendant A&F appropriated Plaintiffs’ right to publicity for the purpose of promoting,
marketing, merchandising and exploiting their Spring 1999 apparel collection.

42. Defendants’ exploitation ofPlaintiffs’ right to publicity connection with the
Spring 1999 Catalog has resulted in their commercial gain at the expense of Plaintiffs’
reputations and legal rights through the unauthorized misappropriation of their names and
|ikenesses.

43. Plaintiffs have been damaged in that they have suffered a loss of their valuable
property rights as a result of Defendant’s misappropriation of their right to publicity.

44. As a proximate result of Defendants’ actions, Plaintiffs have suffered actual
damages in an amount to be Shown at trial, but in no event less than five hundred thousand
dollars ($500,000.00).

45. Defendants’ acts were willful, malicious and oppressive to the extent that

Defendants acted in conscious disregard of Plaintiffs’ rights thereby subjecting Plaintiffs to cruel

7

 

 

 

Complaint for Damages and Injunetive Relief

 

Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

2:99-cV-O4612-R-I\/|c .)cument 11 Filed 01/06/00 Pag. of 15 Page |D #:13

1 14199'030039.€11/11>

and unjust hardship,-both within the industry from which many of them derive their living and in
their personal life. Defendants’ failed to properly obtain approval relative to their use of the
name and likeness of Plaintiffs, and continued said despicable conduct pertinent to the
distribution of the Spring 1999 Catalog and the accompanying advertising, selling and soliciting
purchases of products, merchandise, goods and services. Accordingly, Plaintiffs will seek an
award of punitive damages against Defendants, and each of them, for their wrongdoing, and to
deter them from similar wrongdoing in the future.

46. In performing the acts herein alleged, Defendants have caused, and continue to
cause, Plaintiffs great and irreparable injury for which there is no adequate remedy at law.
Accordingly, Plaintiffs are entitled to injunctive relief.

FOURTH CAUSE OF ACTION
(For False Designation of Origin Under The Lanham Act § 43(a), 15 U.S.C. § llZS(a))

47. Plaintiffs repeat and reallege each and every allegation in paragraphs 1 through 46
ofthis complaint as set forth above.

48. By promoting and causing the Spring 1999 Catalog to be published and
distributed in interstate commerce, Defendants have falsely represented to the public that the
Spring 1999 Catalog is in some way authorized by, endorsed by, sponsored by, or associated
with the Plaintiffs.

49. As a result, members of the public will be and in fact h_a_\§ M be& deceived
and/or confused into believing that the Spring 1999 Catalog is authorized by, endorsed by,
sponsored or associated with Plaintiffs. Plaintiffs have been seriously injured by such deception,
in that their reputations have been damaged Plaintiffs have also been harmed by Defendants’
unauthorized use of their names and identities, which is a valuable property right, as an apparent
endorsement of the Spring 1999 Catalog.

50. By engaging in the wrongful conduct described herein and above, Defendants

have violated Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). Because Defendants have
engaged in the conduct described herein with fraudulent intent, this is an exceptional case which

merits an award of treble damages and attorneys’ fees against the Defendants

8

 

 

 

Complaint for Damages and Injunetive Relief

 

Case.

10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27

28

d

 

2:99-cV-O4612-R-I\/|c .cument 11 Filed 01/06/00 Pag. of 15 Page |D #:14

 

114\99030039.CMP

51. . Defendants’ acts and conduct have caused and will continue to cause Plaintiffs
great and irreparable injury which cannot be adequately compensated or measured in damages
Plaintiffs have no adequate remedy at law and will suffer immediate and irreparable loss,
damage and injury unless Defendants are restrained and enjoined from continuing to engage in
such wrongful conduct

FIFTH CAUSE OF ACT[ON
(For Negligence)

52. Plaintiffs repeat and reallege each and every allegation in paragraphs 1 through 51
of this Complaint as set forth above.

53. Defendants owed to Plaintiffs a duty1 for which the applicable standard of care
was at least ordinary due care, to refrain from using or exploiting Plaintiffs’ names or likeness
for commercial purposes without Plaintiffs’ prior consent

54. Defendants breached their duty owed to Plaintiffs by not using ordinary due care
in creating, developing, producing, distributing, promoting, exhibiting and selling the Spring
1999 Catalog which exploited Plaintiffs’ names and likeness. Defendants knew or should have
known that Plaintiffs had not consented to the use of their names and likeness, and Defendants
had no reasonable basis for believing that Plaintiffs had given their consent to such use.

55. As a proximate result of Defendants’ actions, Plaintiffs have suffered actual
damages to be shown at trial, but no less than five hundred thousand dollars ($500,000.00).

56_ In doing the acts alleged, Defendants acted willfully, maliciously and recklessly,
and Plaintiffs are entitled to punitive damages in an amount according to proof at trial.
Accordingly, Plaintiffs will seek an award of punitive damages against Defendants, and each of
them, in an amount sufficient to punish Defendants, and each of them, for their wrongdoing, and
to deter them from similar wrongdoing in the future.

57. In performing the acts herein alleged, Defendants have caused, and continue to
cause, Plaintiffs great and irreparable injury for which there is no adequate remedy at law.
Accordingly, Plaintiffs are entitled to injunctive relief.

///

9
Complaint for Damages and Injunetive Relief

 

Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

2:99-cV-O4612-R-I\/|c .cument 11 Filed 01/06/00 Pag.) of 15 Page |D #:15

1 14\99`030039.cMP

SIXTH CAUSE OF ACTION
(For Defamation of Character)

58. Plaintiffs repeat and reallege each and every allegation in paragraphs 1 through 57
ofthis Complaint as set forth above.

59. It is well settled jurisprudence that defamation of character includes the torts of
libel and slander. “Libel is a false and unprivileged publication by writing, printing, picture,
effigy or other fixed representations to the eye, which exposes any person to hatred, contempt,
ridicule or obloquy, or which causes him to be shunned or avoided, or which has a tendency to
injure him in his occupation."

60. Commencing in or about the Winter of 1998/1999 and continuing until tlie
present, Defendants, and each of them, published to the general public certain photographs
containing Plaintiffs’ names and/or likenesses, including but not limited to A&.F’s Spring 1999
Catalog.

61. ln the Spring 1999 Catalog, Plaintiffs are portrayed in a section entitled “Surf
Nekkid” which depicts numerous models, primarily male, in a variety of lewd or suggestive
poses. The inclusion of Plaintiffs’ names and likenesses in this manner subjected them to
ridicule, obloquy, and causes them to be shunned or avoided, and has a tendency to injure them
in connection with their occupations

62. The use of Plaintiffs’ names and likenesses in the section entitled “SurfNekkid”
implies that Plaintiffs endorsed the Spring 1999 Catalog and the lewd photographs contained
therein. As a result, the use of Plaintiffs’ names and likenesses in the “SurfNekl<id" section of
the Spring 1999 Catalog has subjected Plaintiffs to contenrpt, ridicule and obloquy, and have
caused them to be shunned or avoided, and have had a tendency to injure many of them in their
occupations

63. The use ofPlaintiffs’ names and likenesses in a manner which implies that
Plaintiffs endorsed the “Surf Nekkid" section of A&F’s Spring 1999 Catalog is false.

64. Plaintiffs are infomred and believe, and based thereon allege, that Defendants,

and each of them, published the aforementioned defamatory photographs with actual knowledge

10

 

 

 

Complaint for Damages and Injunetive Relief

 

Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

2:99-cV-O4612-R-I\/|c .cument 11 Filed 01/06/00 Pag. 0115 Page |D #:16

1 14\99030039.€MP

as to the falsity of the implied endorsement of the “Surf Nekkid” section, and/or with reckless
disregard as to their truth or falsity.

65. The use of Plaintiffs’ names and likenesses in the “Surf Nekkid” section was
defamatory because they were published intentionally, and because it had a natural and probable
effect on the average viewer, reader and/or listener to defame Plaintiffs.

66. The use of Plaintiffs’ names and likenesses in the “Surf Nekkid" section of
A&F’s Spring 1999 Catalog were ofor concerning the Plaintiffs in that the reasonable viewer or
reader would understand that the defamatory communications referred to the Plaintiffs.

67. Plaintiffs are informed and believe, and based thereon allege, that the use of their
names and likenesses were not privileged by any rule oflaw.

68. As a direct and legal result of Defendants’ defamation of Plaintiffs, Plaintiffs
have suffered general damages, including but not limited to, damage to their good names and
reputations, shame, embarrassment, mortification, humiliation and injured feelings, and other
general damages according to proof at trial, but in no event less than five hundred thousand
dollars ($500,000.00).

69. Plaintiffs are informed and believe, and based thereon allege, that Defendants’
defamation of Plaintiffs was engaged in with actual malice. Defendants, and each of them, at all
times material to this cause of action, used the names and likenesses of Plaintiffs in A&F’s
Spring 1999 Catalog with actual knowledge that the implied endorsement of the “Surf Nekkid”
section and A&F’s product were untrue. In addition, Defendants’ acts were willful, malicious
and oppressive to the extent that Defendant acted in conscious disregard of Plaintiffs’ rights
thereby subjecting Plaintiffs to cruel and unjust hardship, Accordingly, Plaintiffs will seek an
award of punitive damages against Defendants, and each of them, in an amount sufficient to
punish Defendants, and each of them, for their wrongdoing, and to deter them from similar

wrongdoing in the future.

ON THE FIRST CAUSE OF ACTION:

1. For actual damages in an amount not less than five hundred thousand dollars

11
Complaint for Damages and Injunetive Relief

 

Case

10
11
12
13
14
15
16
17
rs
19
20
21
22
23
24
25
26
27

28

2:99-cV-O4612-R-I\/|c .cument 11 Filed 01/06/00 Pag. 0115 Page|D #:17

114\99030039.CMP

_. 13500,000.00);

All profits earned by each Defendant in connection with the exploitation of the
Photograph of Plaintiffs contained in the Spring 1999 Catalog according to proof
at trial, but in no event less than five million dollars ($5,000,000.00);
Compensation for mental distress;
For punitive damages according to proof at trial
For temporary and permanent injunction restraining Defendants from any and all
future exploitation ofthe Spring 1999 Catalog in any form;
For attomeys’ fees;
For costs of suit herein incurred; and
For such other and further relief as the Court may deem proper.

ON THE SECOND CAUSE OF ACTION:
F or actual damages in an amount not less than five hundred thousand dollars
($500,000.00);
For punitive damages according to proof at trial;
For a temporary and permanent injunction restraining Defendants from any and
all future exploitation of the Spring 1999 Catalog in any form;
For attomeys’ fees;
For costs of suit herein incurred; and
For such other and further relief as the Court may deem proper.

ON THE THIRD CAUSE OF ACTION:

 

For actual damages in an amount not less than five hundred thousand dollars
($500,000.00);

F or a temporary and permanent injunction restraining Defendants from any and
all future exploitation ofthe Spring 1999 Catalog in any form;

F or attomeys’ fees;

For costs of suit herein incurred; and

For such other and further relief as the Court may deem proper.

12

 

 

 

Complaint for Damages and Injunetive Relief

 

Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

///
///
///
///
///
///
///
///
///

2:99-cV-O4612-R-I\/|c .cument 11 Filed 01/06/00 Pag‘ 0115 Page |D #:18

1 14\99030039.cMP

ON THE FOURTH CAUSE OF ACTION:
For actual damages in an amount not less than five hundred thousand dollars
($500,000.00);
For punitive damages according to proof at trial;
F or a temporary and permanent injunction restraining Defendants from any and
all future exploitation of the Spring 1999 Catalog in any form;
For attomeys’ fees;
For costs of suit herein incurred', and
For such other and further relief as the Court may deem proper.

ON THE FIFTH CAUSE OF ACTION:

For actual damages in an amount not less than five hundred thousand dollars
($500,000.00);
For punitive damages according to proof at trial;
For a temporary and permanent injunction restraining Defendants from any and
all future exploitation of the Spring 1999 Catalog in any form;
For attomeys’ fees;
For costs of suit herein incurred;
For treble damages; and

For such other and further relief as the Court may deem proper.

13

 

 

Complaint for Damages and Injunetive Relief

 

Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

5

 

2:99-cV-O4612-R-I\/|c .cument 11 Filed 01/06/00 Pag.10115 Page |D #:19

114\99030039.cMP

ON THE SIXTH CAUSE OF ACTION:

1. For actual damages in an amount not less than five hundred thousand dollars
($500,000.00);

2. For punitive damages according to proof at trial;

3. For a temporary and permanent injunction restraining Defendants from any and

all future exploitation of the Spring 1999 Catalog in any form;

 

4. For attomeys’ fees;

5. For costs of suit herein incurred;

6. For treble damages; and

7. For such other and further relief as the Court may deem proper.

Dated: December 20, 1999 LAW OFFICES OF BRENT H. BLAKELY, INC.
Brerg(l{. Blakely """"'_
Attomeys for Plaintiffs GEORGE
DOWNING, PAUL S'I`RAUCH, RICK
STEERE, RlCHARD (BUFFALO)
KEAULANA, BEN AIPA, MIKE DOYLE
and JOEY CABELL
DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a jury trial as provided by Rule 38(a) of the Federal Rules of
Civil Procedure.

 

r)ared:`j?-G. 20 , 1999 LAw oFFICEs or BRENT n. BLAKELY, inc
By: j y /
rertr n. 1361@17/

Attomeys for Plaintiffs GEORGE
DOWN[NG, PAUL STRAUCH, RICK
STEERE, RlCHARD (BUFFALO)
KEAULANA, BEN AIPA, MIKE DOYLE,
and JOEY CABELL

14

 

 

Complaint for Damages and Injunetive Reliel`

/

 

Case 2:

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

99-cv-O4612-R-|\/|c |.ument 11 Filed 01/06/00 Page. 0115 Page|D#:ZO

PROOF OF SERVICE

STATE OF CALIFORNIA )
) ss.
ClTY AND COUNTY OF LOS ANGELES )

I am employed in the City of Manhattan Beach and County of Los Angeles, State of
Califomia. l am over the age of 18 and not a party to the within action; my business address is
as follows:865 Manhattan Beach Blvd. Suite 204, Manhattan Beach, Ca. 90266

On January 5, 2000, l served the foregoing document(s) described as:

-Certif`reation as to Interested Parties
-First Amended Complaint

on the interested parties in this action by placing a true and correct copy thereof in a sealed
envelopes addressed as follows:

David Aronoff`, Esq.

Leopold, Petrich & Smith

2049 Century Park East, Suite 31 10
Los Angeles, Califomia 90067-3274

I am readily familiar with my firm’s practice of collection and processing of correspondence for
mail service via United States Post Office and under that practice such envelope(s) would be
deposited with the United States Post Office on the same day with postage thereon fully prepaid
at Manhattan Beach, Califomia in the ordinary course of business.

l declare that the foregoing is true and correct and that this was executed this f day of

January, 2000, at Manhattan Beach, Califomia.

Alison lngham //

 

 

